Case 2:05-cr-20030-.]PI\/| Document 67 Filed 04/25/05 Page 1 of 3 Page|D 76

 

HLW
IN THE UNITED sTATEs DIsTRIcT coURT %

FOR THE wEsTERN DISTRICT OF TENNESSEE 05 ,_. M
wEsTERN DIVISION 55 ."`n ,,;

'h"-'-¢_,a..',-‘r w
Ci:HKf{f;L¥ 3
l!\fD OF- TN’ fw n pell
UNITED sTATEs oF AMERICA """ ~S

Plaintiff,
Criminal No.A%S-ékyczjc?Ml

OM/M Cd’w/ 0 ER

(60-Day Continuance)

 

 

 

 

)
)
)
)
)
)
)
)
)
)
)
)
)
)
)
)
)
)
)
)

Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the May 2005,
criminal rotation calendar, but is now RESET for report at QLQQ
a.m. on Fridav, June 24, 2005, with trial to take place on the
July, 2005, rotation calendar with the time excluded under the
Speedy Trial Act through July 15, 2005. Agreed in open court at

report date this 22nd day of April, 2005.

rmsuocumentenmredonthedocketsheeth\compHance

, /
.~m sum 55 ann/or 32(b) FHCrP on ‘027 03

 

Case 2:05-cr-20030-.]PI\/| Document 67 Filed 04/25/05 Page 2 of 3 Page|D 77

so oRDERED this 22nd day of April, 2005.

gte M\‘QQ§;

 

JON PHIPPS MCCALLA
U'N ED STATES DISTRICT JUDGE

7?@ f),zw'

Assi tant United States torney

 

 

 

 

 

Counsel for Defendant(s)

DRISTIC COURT - WETERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 67 in
case 2:05-CR-20030 Was distributed by faX, mail, or direct printing on
Apri127, 2005 to the parties listed.

 

 

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

LaWrence W. Kern
KERN LAW FIRM

51 18 Park Avenue

Ste. 600

l\/lemphis7 TN 38117--571

Honorable J on McCalla
US DISTRICT COURT

